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                   EXHIBIT M
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                                Rough Transcript


                                                                        Page 1
 1                    IMPORTANT NOTICE
 2

 3             You have requested an unedited,
 4    uncertified rough-draft transcript.                   This
 5    rough-draft transcript has been requested in
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 7    computer and/or an ASCII file delivered
 8    after the close of proceedings.                 It contains
 9    the raw output from the Court Reporter's
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13             This Certified Court Reporter makes no
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17    steno, mistranslated text, misspelled words
18    and/or nonsensical word combinations.                   This
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21             This draft transcript is provided only
22    for purpose of augmenting counsel's notes
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 1          THE VIDEOGRAPHER: This is the start           1                EXAMINATION
 2      of tape labeled number 1 of the videotaped        2   BY MS. RIGGS:
 3      deposition of Hans von Spakovsky, in the          3      Q. Good morning, sir.
 4      matter of League of United Latin American         4      A. Good morning.
 5      Citizens, et al. v. Public Interest Legal         5      Q. Can you please state your full name
 6      Foundation, et al., in the United States          6   for the record?
 7      District Court for the Eastern District of        7      A. Hans Anatol von Spakovsky.
 8      Virginia, Alexandria Division, Case Number        8      Q. And can you spell is?
 9      1:18-cv-423-LO-IDD.                               9      A. Hans, H-a-n-s, Anatol, A-n-a-t-o-l,
10          This deposition is being held at 1440        10   von, that's a small v, S-p-a-k-o-v-s-k-y.
11      New York Avenue, Northwest, Suite 1100,          11      Q. Thank you.
12      Washington, D.C., on May 9, 2019, at             12           Mr. von Spakovsky, have you had your
13      approximately 7:59.                              13   deposition taken before?
14          My name is David Chroniger from TSG          14      A. Yes.
15      Reporting, Inc., and I am your legal video       15      Q. Approximately how many times?
16      specialist. Your court reporter is John          16      A. I know I've had it taken once. I
17                                                       17   can't remember -- I can't remember if I had it
        Harmonson in association with TSG Reporting.
18                                                       18   taken back when I was a corporate counsel; that
            Will counsel please introduce
19                                                       19   was many years ago.
        yourselves.
20                                                       20      Q. Okay. And when was the last time you
            (Whereupon, counsel placed their
21                                                       21   recall having your deposition taken?
        appearances on the video record.)
22                                                       22      A. About a year and a half ago.
               HANS VON SPAKOVSKY,
23                                                       23      Q. So 2017-ish?
     after having been first duly sworn or affirmed,
24                                                       24      A. I believe so.
     was examined and did testify under oath as
25                                                       25      Q. Okay. Since it's been a little bit
     follows:

                                            Page 4                                                   Page 5
 1   and you haven't had your deposition taken            1      A. I understand what your assumptions
 2   extensively, I would like to just briefly review     2   are.
 3   some of the ground rules for the deposition if       3      Q. Okay. You can take -- we can take a
 4   you don't mind. For the court reporter's sake,       4   break at any time. Don't hesitate to ask if you
 5   please answer any questions verbally and don't       5   need to walk around or use the facilities. My
 6   nod or shake your head; he can't capture that on     6   only request is that if there is a pending
 7   the transcript. Do you understand?                   7   question, you answer the question before we take
 8       A. I do.                                         8   a break. Do you understand?
 9       Q. I would like for us to do our best not        9      A. I do.
10   to speak over each other. So I will endeavor to     10      Q. Do you understand that you're under
11   wait until you finish answering your question       11   oath and subject to perjury for any false or
12   before I ask my next question. And if you can       12   misleading testimony today?
13   afford me the same courtesy, I would be very much   13      A. Yes.
14   obliged. Do you understand?                         14      Q. Is there any reason you may not be
15       A. I do.                                        15   able to answer questions truthfully or completely
16       Q. If you don't understand the question,        16   today?
17   please don't hesitate to ask me to restate it or    17      A. No.
18   if you zone out for a second and miss part of it,   18      Q. What did you do to prepare for this
19   I would be happy to, just ask, if you will.         19   deposition?
20          If you don't answer -- if you answer a       20      A. I spoke with my counsel.
21   question, I'll assume you understand the            21      Q. Your counsel who is here with you
22   question. Is that fair?                             22   today?
23       A. I understand your answer.                    23      A. That's correct.
24       Q. You understand what I'm representing         24      Q. Did you speak with any other
25   my assumption will be?                              25   attorneys?



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 1   pages of documents you ultimately produced in       1            THE WITNESS: What do you mean,
 2   this matter?                                        2       privileged documents about the litigation?
 3       A. No. I simply made -- printed them out        3   BY MS. RIGGS:
 4   and sent them to my counsel.                        4       Q. Well --
 5       Q. If I represented to you that your            5       A. Do you mean -- do you mean analysis of
 6   total production in this case numbered only 132     6   the litigation or something like that?
 7   pages, would that surprise you?                     7       Q. I mean -- you're an attorney, right?
 8       A. I --                                         8       A. I am.
 9           MR. DRISCOLL: Objection.                    9       Q. So any document to which an applicable
10           Go ahead.                                  10   privilege would apply. Do you have any of those?
11           THE WITNESS: I mean, I don't -- I          11       A. If you're talking about documents
12       don't -- I didn't count up the pages.          12   related directly to the litigation, I mean all
13   BY MS. RIGGS:                                      13   I -- all I may have gotten were copies of the
14       Q. And then will you look on page 2 of         14   pleadings and the objection letters, things like
15   Exhibit 4 with me. Your response to Request        15   that. I don't have anything else that I'm aware
16   10 says: "Mr. von Spakovsky does not possess       16   of.
17   non-privileged communications or documents about   17       Q. And those wouldn't be privileged
18   the instant litigation."                           18   documents, correct?
19           Did I read that correctly?                 19       A. I don't believe so.
20       A. Yes.                                        20       Q. Do you have any documents that you
21       Q. And do you possess privileged               21   believe to be attorney-client privilege
22   communications or documents about the instant      22   protected?
23   litigation?                                        23            MR. DRISCOLL: Objection.
24           MR. DRISCOLL: Objection.                   24            Go ahead and answer.
25           Go ahead and answer.                       25            THE WITNESS: I would assume that any

                                          Page 36                                                 Page 37
 1       communications between myself as a member of    1   writing, so I'm sure there's all kinds of
 2       the board and our general counsel or the        2   materials that I -- where I write that are
 3       other lawyers would be privileged.              3   generally covered by the First Amendment. I
 4   BY MS. RIGGS:                                       4   don't know if there is anything specific related
 5       Q. Who is the general counsel?                  5   to this litigation.
 6       A. Christian Adams.                             6       Q. Nothing that you withheld because you
 7       Q. And who are the other lawyers?               7   believed producing would violate a First
 8       A. Noel Johnson, Kaylan Phillips.               8   Amendment privilege that you enjoyed?
 9       Q. So when you were doing your search, if       9       A. Not that I recall.
10   there was an e-mail between you and any of the     10       Q. And just so I understand, the extent
11   PILF lawyers, you would have considered that       11   you had e-mails with anyone at PILF who was not
12   covered by the attorney-client privilege?          12   an attorney, did you withhold those on the basis
13       A. Yes.                                        13   of an attorney-client privilege?
14       Q. Would you have produced those to your       14           MR. DRISCOLL: Objection.
15   attorney?                                          15           Go ahead and answer.
16       A. I did not do so.                            16           THE WITNESS: I don't recall seeing
17       Q. What about an attorney work product?        17       any e-mails about any of the alien reports
18   Did you have any documents that were -- that you   18       to anyone that was not a lawyer at Public
19   believe to be covered by attorney work product     19       Interest Legal Foundation.
20   privilege?                                         20   BY MS. RIGGS:
21       A. Not that I recall.                          21       Q. What about e-mails with other members
22       Q. Did you have any documents that you         22   of PILF's board? Would you consider those
23   believed were covered by a First Amendment         23   covered by the attorney-client privilege?
24   privilege?                                         24       A. I -- I'm not an expert on that. I
25       A. Well, that covers -- I do a lot of          25   don't know.



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                                           Page 38                                                 Page 39
 1       Q. Did you find any e-mails between              1      Q. Can you explain to me why you as a
 2   yourself and other members of PILF's board           2   member of PILF's board of directors failed to
 3   relating to any of the requests for documents?       3   cease any automatic deletion of potentially
 4       A. Not -- not that I recall.                     4   relevant e-mails as of when this case was filed
 5       Q. Did you produce a privilege log that          5   on April 12, 2018?
 6   documented any e-mails between you, Mr. Adams, or    6          MR. DRISCOLL: Objection.
 7   any other attorneys at PILF regarding the            7          MR. LOCKERBY: Objection.
 8   responses -- sorry, the request for documents?       8          MR. DRISCOLL: You can go ahead and
 9       A. No.                                           9      answer, if you can.
10       Q. You did not produce a privilege log?         10          THE WITNESS: I -- I don't know. I
11       A. No.                                          11      don't recall getting any -- knowing that I
12       Q. Do you remember approximately how many       12      needed to do that.
13   e-mails that you found that were responsive that    13   BY MS. RIGGS:
14   you withheld?                                       14      Q. As a member of the board, were you
15       A. No.                                          15   notified when this litigation was filed against
16       Q. Can you ballpark it? Like more than          16   PILF?
17   ten?                                                17      A. I believe so.
18       A. No, I don't recall.                          18      Q. And who would you have been notified
19       Q. Did you review every document before         19   by?
20   it was produced to plaintiffs' counsel?             20      A. I -- I'm sure it would have been our
21       A. Yes.                                         21   general counsel, although I don't recall the
22       Q. And do you recall that in what I will        22   actual notice.
23   represent to you is 132 pages of documents, you     23      Q. And you were never provided what's
24   produced not one single e-mail?                     24   known as a litigation hold letter?
25       A. I assume that's correct.                     25      A. Not that I recall.

                                           Page 40                                                 Page 41
 1       Q. And you were never provided any verbal        1       A. Yes.
 2   instructions not to delete any documents or          2          MS. RIGGS: I'm going to hand you --
 3   e-mails that might relate to this litigation?        3       well, the court reporter is going to mark as
 4       A. I don't recall.                               4       Exhibit 5 a document.
 5       Q. And you would agree with me that if           5          (Exhibit 5 marked for identification
 6   you had been told not to delete things in April      6       and attached hereto.)
 7   of 2018, you would have had e-mails dating back      7   BY MS. RIGGS:
 8   at least to late 2016 that wouldn't have been        8       Q. Mr. von Spakovsky, I will represent to
 9   deleted yet under Heritage's deletion policy,        9   you that this is the 2017 990 form for The
10   correct?                                            10   Heritage Foundation.
11           MR. LOCKERBY: Object to the form.           11          Have you seen this document before?
12           MR. DRISCOLL: Objection.                    12       A. I have not.
13           You can go ahead and answer.                13       Q. You were not responsible for producing
14           THE WITNESS: I don't know.                  14   it?
15   BY MS. RIGGS:                                       15       A. No.
16       Q. As of April 2018, in your Heritage           16       Q. Will you turn with me to page 6. The
17   e-mail account there would have been e-mails        17   numbers are very small at the bottom right-hand
18   dating back to late 2016 because the automatic      18   corner. So it will say 6 of 17.
19   deletions don't happen until 18 months, correct?    19       A. Okay, I'm on page 6.
20       A. I believe that's correct.                    20       Q. Okay. Do you see Section B that's
21       Q. When you performed your first search         21   called "Policies"?
22   at some point in early 2019 after you received      22       A. Yes.
23   your subpoena for documents per Heritage's          23       Q. And if you look at number 14, it says:
24   retention policy, you would have only had e-mails   24   "Did the organization have a written document
25   dating back to late 2017. Is that correct?          25   retention and destruction policy?"



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